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              Nos. 22-2003, 22-2004, 22-2005, 22-2006,
             22-2007, 22-2008, 22-2009, 22-2010, 22-2011

               IN THE UNITED STATES COURT OF
               APPEALS FOR THE THIRD CIRCUIT
                           ________________
                      IN RE LTL MANAGEMENT, LLC,
                                                 Debtor.
                           ________________
                        LTL MANAGEMENT, LLC,
                                                 Appellee,
                                      v.
               THOSE PARTIES LISTED ON APPENDIX A TO
                 COMPLAINT AND JOHN DOES 1-1000.

                           ________________

On Appeal from the United States Bankruptcy Court for the District of
  New Jersey (Case Nos. 3:21-bk-30589-MBK, 3:21-ap-3032-MBK)
                         ________________
BRIEF OF WASHINGTON LEGAL FOUNDATION AS AMICUS CURIAE
  SUPPORTING DEBTOR-APPELLEE AND REHEARING EN BANC
                    ________________

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                       DISCLOSURE STATEMENT

     Washington Legal Foundation is a nonprofit corporation under

§ 501(c)(3) of the Internal Revenue Code. WLF has no parent company,

issues no stock, and no publicly held company owns an interest in it.




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                     INTEREST OF AMICUS CURIAE*

      Washington Legal Foundation is a nonprofit, public-interest law

firm and policy center with supporters nationwide. WLF promotes free

enterprise, individual rights, limited government, and the rule of law. It

has appeared as amicus curiae in bankruptcy cases of public importance.

See, e.g., Stern v. Marshall, 564 U.S. 462 (2011); Ind. State Police Pension

Tr. v. Chrysler LLC, 558 U.S. 1087 (2009). It filed a panel-stage amicus

brief explaining why the Bankruptcy Court correctly found that LTL filed

its bankruptcy petition in good faith.

                                 ARGUMENT

I.    THE PANEL ERRED BY FAILING TO JUSTIFY ITS SPLIT FROM THE
      FOURTH CIRCUIT ON WHEN A BANKRUPTCY COURT MAY DISMISS
      A PETITION FOR LACK OF GOOD FAITH.

      The panel acknowledged that “[i]n the Fourth Circuit, a court can

only dismiss a bankruptcy petition for lack of good faith on a showing of

the debtor’s ‘subjective bad faith’ and the ‘objective futility of any possible

reorganization.’” Opinion 28 n.8 (quoting Carolin Corp. v. Miller, 886

F.2d 693, 694 (4th Cir. 1989)). That is the only time the panel discussed



      No party’s counsel authored any part of this brief. No one, apart
      *

from WLF and its counsel, contributed money intended to fund the brief’s
preparation or submission.

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the Fourth Circuit’s two-prong good-faith test. There was no attempt at

explaining why the Fourth Circuit’s analysis was flawed.

     True, the panel cited two prior panel opinions to support its holding

on the requirements necessary to establish bad faith for a bankruptcy

filing. See, e.g., Opinion 35. But those two cases—both of which came

after Carolin—also failed to explain why this Court should not follow the

Fourth Circuit’s decision. For example, In re SGL Carbon Corp., 200 F.3d

154 (3d Cir. 1999) cited Carolin only three times. The first two citations

bolstered the uncontroversial propositions that there is a good-faith

requirement for bankruptcy filings and that there must be a test to

determine whether a petition is filed in good faith. See id. at 161-62. The

final citation noted that the Fourth Circuit exhaustively explored

precedent when crafting its good-faith rule. See id. at 165. But SGL

Carbon says nothing about why the Fourth Circuit’s test is wrong.

     So too for the Court’s decision in NMSBPCSLDHB, L.P. v.

Integrated Telecom Express, Inc. (In re Integrated Telecom Express, Inc.),

384 F.3d 108 (3d Cir. 2004). There, this Court cited Carolin only once.

And as in SGL Carbon, that citation was for the proposition that the

Bankruptcy Code includes a good-faith requirement. See id. at 119.



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     In short, the panel never explained why it chose to depart from the

Fourth Circuit. This was not because citations to prior Third Circuit

decisions explained that departure; they did not. Rather, the failure to

explain the alleged flaws in Carolin was a mistake—both procedurally

and substantively—that deserves en banc review.

     When there is a “lack of authority” in this circuit on a legal issue,

the Court “look[s] to other circuits’ persuasive precedent.” United States

v. Penn, 870 F.3d 164, 170 n.8 (3d Cir. 2017). This makes sense.

“Although” courts of appeals “are not bound by them,” they should

“‘carefully and respectfully consider’ the opinions of [other] circuits.” 330

W. Hubbard Rest. Corp. v. United States, 203 F.3d 990, 994 (7th Cir.

2000) (quoting United States v. Williams, 184 F.3d 666, 671 (7th Cir.

1999) (other citations omitted)).

     It is incumbent on three-judge panels to carefully consider the

reasoned judgments of their sister circuits when deciding issues of first

impression. Otherwise, the practice that this Court look to other circuits’

persuasive authority when first considering an issue rings hollow. In

essence, it allows for a panel to cherry-pick what sister circuits to look to




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for guidance when addressing a question of first impression. The en banc

court should discourage that practice.

     Another reason that the Court should discourage splitting from

other circuits without appropriate explanation is that it encourages

forum-shopping. As the panel noted, because this Court’s jurisprudence

was unclear, many cases using the Texas two-step have been filed in the

Western District of North Carolina. Opinion 28 & n.8. Now that this

Court has rejected the Fourth Circuit’s rule, the rate of forum-shopping

will skyrocket. Companies will know that, if they file in Delaware, the

bankruptcy courts are bound by the panel’s decision. So they will instead

try to file in the Fourth Circuit. This Court tries to discourage forum-

shopping. See Chavez v. Dole Food Co., Inc., 836 F.3d 205, 232 (3d Cir.

2016) (en banc). Requiring panels to explain why they split from a sister

circuit will help accomplish this goal. It will also save judicial resources

as motions to transfer venue will become rarer.

     Still, this Court need not always follow its sister circuits’ decisions.

Sometimes, the other courts of appeals are split on an issue and this

Court must choose between two or more options. In those cases, a panel

should explain why it found reasoning from some sister circuits more



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persuasive than the reasoning of other circuits. Cf. United States v.

Tyson, 947 F.3d 139, 147 (3d Cir. 2020) (panel explaining why it was

rejecting the Ninth Circuit’s rule and adopting the majority rule);

Renchenski v. Williams, 622 F.3d 315, 330 (3d Cir. 2010) (panel

explaining why it was adopting the Fifth and Eleventh Circuits’ rule

while rejecting the Seventh Circuit’s rule). And sometimes, after careful

reflection, a panel may conclude that all other circuits to consider an

issue reached the wrong result. In those cases, it is critical that the panel

explain why it is creating a circuit split. Cf. Orozco-Velasquez v. Att’y

Gen., 817 F.3d 78, 82 & n.23 (3d Cir. 2016) (panel explaining why it was

creating a circuit split), abrogated, Pereira v. Sessions, 138 S. Ct. 2105

(2018). That way, the public has confidence that politics are not driving

the decision’s outcome. It also ensures that the Supreme Court has more

information when deciding whether to grant a certiorari petition and—if

it does—how to resolve the circuit split. See generally Pereira, 138 S. Ct.

2105

       So even if this Court were to decide that the panel correctly split

from the Fourth Circuit’s good-faith test, it should at least explain that

decision in an en banc opinion. It’s no secret that this case has garnered



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substantial interest, both in the legal community and more broadly. See,

e.g., Jonathan Randles & Peter Loftus, J&J’s Talc Bankruptcy Case

Thrown Out by Appeals Court, Wall. St. J. (Jan. 30, 2023),

https://tinyurl.com/fnnebcv8. The Court owes it to the bar and the public

to explain why its sister circuit erred when outlining what a debtor must

show to establish that it filed a bankruptcy petition in good faith.

II.   THE PANEL ERRED BY NOT WEIGHING ALL EQUITABLE
      CONSIDERATIONS WHEN CRAFTING A RULE THAT MAKES
      CORPORATE RESTRUCTURING MORE DIFFICULT.

      A.   The Panel Dealt             With   Equitable     Considerations
           Inconsistently.

      The panel focused on the equitable nature of the Bankruptcy Code

when explaining why it preferred an objective test for good faith. Opinion

34 (citation omitted). This holding departed from the Fourth Circuit’s

precedent, which focuses primarily on the subjective intent of the debtor.

The panel’s focus on equity makes sense. Cf. Wellness Int’l Network, Ltd.

v. Sharif, 575 U.S. 665, 670 (2015) (explaining that Congress gave

bankruptcy judges most of the power of a judge sitting in equity (citation

omitted)). But the panel was inconsistent when considering the equities

in bankruptcy cases.




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     Rather than recognize and weigh the equities of allowing mass tort

cases to be handled in bankruptcy, the panel brushed aside these

equitable considerations as irrelevant to the good-faith inquiry. See

Opinion 54-55. It makes no sense for the panel to focus on some parts of

equitable jurisprudence while ignoring other aspects of equity. Such

handling of equitable considerations deserves review by the full Court.

     If the panel’s opinion is read (at 38-39) as grappling with these

equitable considerations, that analysis misses the mark. Allowing

defendants facing huge mass tort liability to handle the cases in

bankruptcy benefits both claimants and defendants. See § II.C, infra.

These equity considerations, ignored by the panel, strongly counsel

against the panel’s rule.

     B.    Bankruptcy Courts Have More Discretion To Ensure
           Equitable Outcomes Than Judges In Mass Tort Cases.

     Filing Chapter 11 impacts pending tort litigation against a debtor

in two main ways. First, the automatic stay gives the debtor and relevant

stakeholders breathing room to formulate a plan without the distractions

of pressing litigation. 11 U.S.C. § 362. Second, tort claims against a

debtor may be consolidated and funneled through the bankruptcy court

to be resolved together.


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     These two bankruptcy procedural components permit a debtor to

defend against existential tort liability on just one front. Baumgart v.

Fairchild Aircraft Corp., 981 F.2d 824, 831 (5th Cir. 1993). The debtor

need not divide its attention between state and federal jurisdictions

across the country, each with their own unique procedural requirements.

This results in efficiencies and maximizes the debtor’s estate.

     Unlike the mass tort system, bankruptcy courts can fashion an

appropriate remedy and consider evidence usually off-limits to a jury. For

example, bankruptcy courts may include in their plans “any other

appropriate provision not inconsistent with the applicable provisions of”

the Bankruptcy Code. 11 U.S.C. § 1123(b). They may also marshal the

assets of debtors to the benefit of a greater number of creditors. See

Integrated Sols., Inc. v. Serv. Support Specialties, Inc., 124 F.3d 487, 495

(3d Cir. 1997). Further, bankruptcy courts can issue “any order process,

or judgment that is necessary or appropriate to carry out the provisions

of” the Bankruptcy Code. 11 U.S.C. § 105(a).

     Bankruptcy courts have successfully used this flexibility in mass

tort cases to preserve assets to benefit current claimants and those who

may not yet know they have a claim. See, e.g., In re Dow Corning, 86 F.3d



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482, 490 (6th Cir. 1996); A.H. Robins Co. v. Piccinin, 788 F.2d 994, 1013-

14 (4th Cir. 1986). This can be accomplished through 11 U.S.C. § 524(g).

See In re Imerys Talc Am., Inc., 38 F.4th 361, 379 (3d Cir. 2022). Or it can

be accomplished through other provisions of the Bankruptcy Code. See In

re A.H. Robins Co., Inc., 880 F.2d 694, 701 (4th Cir. 1989) (applying 11

U.S.C. § 105(a)).

     Besides enjoying flexibility in choosing which Code section to

proceed under, bankruptcy courts can consider a wider range of evidence

than can juries in the mass tort system. This includes the defendant’s

financial health, which the bankruptcy court can analyze when

determining the amount to award a claimant. That financial

information—which cannot be used to establish liability in the mass tort

system, Draper v. Airco, Inc., 580 F.2d 91, 95 (3d Cir. 1978)—can help

bankruptcy courts decide how best to marshal a debtor’s limited assets

to benefit the most creditors. The same is true for insurance coverage,

which a jury is generally prohibited from reviewing, but which

bankruptcy courts can consider as a potential asset of the bankruptcy

estate. See First Fid. Bank v. McAteer, 985 F.2d 114, 117-18 (3d Cir.

1993). The flexibility to consider such issues and then craft appropriate



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remedies supports the goal of maximizing the value of the bankruptcy

estate. Toibb v. Radloff, 501 U.S. 157, 163 (1991).

      C.    Bankruptcy Courts Can Consider The Well-Being Of
            Future Claimants While Mass Tort Judges Cannot.

      By elevating current claimants’ interests and purported injuries

over those of future claimants, mass tort litigation is inequitable. As the

Bankruptcy Court correctly found (at J.A. 27, 51, 55), reorganization

benefits many more current and future claimants than any form of mass

tort litigation.

      Current claimants suing in a plaintiff-friendly venue are

advantaged over other and future claimants in the mass tort system.

Current claimants’ attorneys are motivated to maximize recoveries by

seeking quick, large verdicts. As the Bankruptcy Court noted (at J.A. 15),

this comes at the expense of future claimants. The Supreme Court

recognized this problem in Ortiz v. Fibreboard Corp., observing that

plaintiffs’ counsel had an “egregious” conflict because their interest was

in “generous immediate payments” secured for their current clients,

while future claimants’ interest lay in “an ample, inflation-protected fund

for the future.” 527 U.S. 815, 845 (1999).




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     With adequate protections, bankruptcy courts can avoid the

problem of counsel prioritizing payment of current claims over payment

of claims for those who may need to file in the future. This is done by

estimating both claims that have been filed (but not yet reduced to

judgment) and future claims. See 11 U.S.C. § 502(c)(1) (requiring the

court to estimate any contingent claim that “would unduly delay the

administration of the case”). Estimating a claim avoids the need to delay

the debtor’s reorganization indefinitely while cases are tried. See Bittner

v. Borne Chem. Co., 691 F.2d 134, 135 (3d Cir. 1982). This Court’s

asbestos jurisprudence supports treating current and future claimants

equitably. In re Combustion Eng’g, Inc., 391 F.3d 190, 239 (3d Cir. 2004)

(“Equality of distribution among creditors is a central policy of the

Bankruptcy Code.” (citing Begier v. IRS, 496 U.S. 53, 58 (1990))).

     There are several ways for bankruptcy courts to protect future

claimants. For example, they can appoint independent counsel to

advocate on behalf of future claimants. This adversarial process helps

ensure that future claimants are adequately protected. See, e.g., In re

Eagle-Picher Indus., Inc., 203 B.R. 256, 261 (Bankr. S.D. Ohio 1996); In

re Forty-Eight Insulations, Inc., 58 B.R. 476, 478 (Bankr. N.D. Ill. 1986).



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And as the Bankruptcy Court recognized (at J.A. 25), a well-drafted

reorganization plan can address procedural and other concerns about

uniform treatment of current and future claimants.

     The Bankruptcy Code does not require a court to use a set method

when estimating claims, which provides needed flexibility. See In re

Brints Cotton Mktg., Inc., 737 F.2d 1338, 1341 (5th Cir. 1984) (instructing

the bankruptcy court to “use whatever method is best suited to those

circumstances”); Bittner, 691 F.2d at 135 (noting the Bankruptcy Code’s

silence about how to estimate claims); In re POC Properties, LLC, 580

B.R. 504, 509 (Bankr. E.D. Wis. 2017) (bankruptcy “[c]ourts have

discretion and flexibility in determining the best method to estimate a

claim”).

     Bankruptcy courts can use many models when estimating future

claims. See David S. Salsburg & Jack F. Williams, A Statistical Approach

to Claims Estimation in Bankruptcy, 32 Wake Forest L. Rev. 1119, 1130-

38 (1997). This discretion helps bankruptcy courts properly allocate

resources between current and future claimants to promote equality

among claimants.




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     Again, there is no way to protect future claimants in mass tort

cases. For example, if a plaintiff sues in the Philadelphia Court of

Common Pleas, that court cannot consider claims that may be filed in the

Circuit Court of Cook County, Illinois. And even if there were a way for

the Philadelphia court to consider those claims, the judge would lack the

authority to enforce any ruling affecting claims that may be brought in

other jurisdictions. But the Bankruptcy Code allows for bankruptcy

courts to address this problem. Thus, bankruptcy courts ensure far more

equitable distribution of assets than the mass tort system. The panel did

not weigh this, instead focusing on other equitable considerations.

                         *            *           *

     Judge Ambro is one of the nation’s leading bankruptcy law experts.

So this Court should rarely reconsider one of his bankruptcy opinions.

But even the most learned jurists on a subject sometimes make mistakes.

See, e.g., CTS Corp. v. Dynamics Corp. of Am., 481 U.S. 69 (1987)

(reversing an antitrust opinion by Judge Posner). That happened here,

and the Court should grant the petition.




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                            CONCLUSION

     The Court should rehear the case en banc.

                                           Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     I certify that: (1) this brief complies with Fed. R. App. P. 29(b)(4)

because it contains exactly 2,600 words, excluding those parts exempted

by Fed. R. App. P. 32(f); (2) this brief complies with the typeface and type-

style requirements of Fed. R. App. P. 32(a)(5) and (6) because it uses 14-

point Century Schoolbook font; (3) Both attorneys whose names appear

on this brief are members of this Court’s bar; (4) the texts of the electronic

brief and paper copies are identical; and (5) that McAfee LiveSafe was

run on the file and did not detect a virus.

                                                   /s/ John M. Masslon II
February 20, 2023                                  John M. Masslon II


                       CERTIFICATE OF SERVICE

     I certify that, on February 20, 2023, I served all counsel of record

via the Court’s CM/ECF system.

                                                   /s/ John M. Masslon II
February 20, 2023                                  John M. Masslon II




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